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                                     No. 23-5609
              IN THE UNITED STATES COURT OF APPEALS
                       FOR THE SIXTH CIRCUIT
                                  JANE DOE, et al.,

                                                    Plaintiffs-Appellees,
                                    v.
                      WILLIAM C. THORNBURY, JR., MD,

                                                    Defendants,
                               and
                 COMMONWEALTH OF KENTUCKY ex rel.
                 ATTORNEY GENERAL DANIEL CAMERON,

                                                    Intervenor-Appellant.

                 On Appeal from the United States District Court
                      for the Western District of Kentucky,
                     No. 3:23-cv-230, Hon. David. J. Hale
            PETITION FOR REHEARING EN BANC OF
          JULY 31, 2023 ORDER DENYING EMERGENCY
       MOTION TO LIFT STAY OF PRELIMINARY INJUNCTION
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           STATEMENT REGARDING REHEARING EN BANC

      Rehearing en banc of the panel’s order denying Plaintiffs’ emergency motion

to lift the stay of the preliminary injunction against enforcement of Kentucky’s ban

on medically necessary, non-surgical treatment (hormone therapy and puberty

blockers) for transgender minors (the “Treatment Ban”) is necessary and warranted

because it raises questions of exceptional importance and conflicts with prior

decisions of this Court, the Supreme Court, and other circuits. Consideration by the

full court is therefore necessary to secure and maintain uniformity of decisions. As

shown below:

    the panel’s decision presents questions of exceptional and lasting importance

      because the Treatment Ban forbids Plaintiffs and transgender adolescents

      throughout Kentucky from continuing to access necessary medical treatments

      for gender dysphoria, consistent with the established standard of care, as

      recommended by their doctors and deemed appropriate by their parents,

      resulting in severe physical, psychological, and irreparable harm;

    the panel’s decision that Plaintiffs are unlikely to succeed on the merits of

      their Equal Protection claim because discrimination against transgender

      persons is not discrimination on the basis of sex conflicts with Supreme Court

      precedent, see Bostock v. Clayton County, 140 S. Ct. 1731 (2020), a decision

      of this Court, see Smith v. City of Salem, 378 F.3d 566 (6th Cir. 2004), and


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      decisions of other circuits, see Brandt v. Rutledge, 47 F.4th 661 (8th Cir.

      2022); Grimm v. Gloucester Cnty. Sch. Bd., 972 F.3d 586 (4th Cir. 2020);

      Karnoski v. Trump, 926 F.3d 1180 (9th Cir. 2019); Whitaker v. Kenosha

      Unified Sch. Dist. No. 1, 858 F.3d 1034 (7th Cir. 2017); and

    the panel’s decision that Plaintiffs are unlikely to succeed on the merits of

      their Due Process Claim because parents do not have a fundamental right to

      determine whether or not to provide established medical treatment for gender

      dysphoria to their children conflicts with precedent from the Supreme Court,

      see Parham v. J. R., 442 U.S. 584 (1979); and this Court, see Kanuszewski v.

      Mich. Dep’t of Health & Hum. Servs., 927 F.3d 396 (6th Cir. 2019).

      The district court granted Plaintiffs’ motion for a preliminary injunction, but

following the panel’s published order staying the preliminary injunction in a

challenge to Tennessee’s similar treatment ban pending appeal, see L.W. by &

through Williams v. Skrmetti, 73 F.4th 408, 2023 WL 4410576 (6th Cir. 2023), the

district court felt compelled to grant a request to stay the preliminary injunction in

this case, pending Attorney General Cameron’s appeal. In another split and

published decision (Exhibit A), the same panel refused to stay the stay and denied

Plaintiffs’ emergency motion to reinstate the preliminary injunction. Doe 1 v.

Thornbury, No. 23-5609, — F.4th — , 2023 WL 4861984, at *2 (6th Cir. July 31,

2023). As a result, Plaintiffs are and will continue suffering not merely physically


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and psychologically, but also irreparably and unnecessarily. Plaintiffs appreciate that

the appeal has been placed on an expedited schedule; nonetheless, absent relief, the

Minor Plaintiffs will be irreparably harmed by the denial of time-sensitive, medically

necessary care for a duration of at least two months. Plaintiffs thus plea for expedited

relief from the en banc Court to lift the stay, restore the preliminary injunction, or at

a minimum lifted to allow those who are receiving such care to continue to receive

care, and thus restore the status quo while this appeal proceeds.

                                  BACKGROUND

      On June 28, 2023, the district court preliminarily enjoined the Treatment Ban,

codified at Ky. Rev. Stat. § 311.372(2)(a)–(b), just before its effective date. On July

14, 2023, based on L.W., the district court granted Attorney General Cameron’s

motion for an emergency stay pending appeal. “[N]otwithstanding [its] difference of

opinion as to the strength of the plaintiffs’ claims under relevant Supreme Court and

Sixth Circuit precedent,” the district court determined it was compelled by the result

in L.W., which involved “a substantially similar statute” that “Smith and Bostock

[are] inapplicable” and that “the L.W. plaintiffs—and, by extension, Plaintiffs

here—are unlikely to succeed on appeal.” Stay, R.79, PageID#2495. On July 31,

2023, the same panel that resolved L.W. declined to lift the district court’s stay,

concluding that (i) Plaintiffs were unlikely to succeed on the merits for the same

reasons as in L.W.; and (ii) that the differences between Kentucky’s and Tennessee’s


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laws did not “change[] [the panel’s] balancing of the stay factors.” Thornbury,

2023 WL 4861984, at *1–2. Because the panel majority here adopted its reasoning

from L.W., Plaintiffs cite the L.W. reasoning throughout where appropriate and

provide a copy of the decision as Exhibit B.

            REASONS FOR GRANTING REHEARING EN BANC

I.    THE PANEL’S CONCLUSION THAT PLAINTIFFS ARE UNLIKELY
      TO SUCCEED ON THEIR EQUAL PROTECTION CLAIMS
      CONFLICTS WITH DECISIONS OF THE SUPREME COURT, THIS
      COURT, AND OTHER CIRCUITS.

     The district court determined that heightened scrutiny applies to Plaintiffs’

Equal Protection Claim and that the Treatment Ban likely fails that standard. The

panel’s contrary determination conflicts with Supreme Court and Sixth Circuit

precedent, as well as decisions from the Fourth, Seventh, Eighth, and Ninth Circuits.

In light of these conflicts, the Court should grant rehearing en banc, and reinstate the

preliminary injunction pending appeal, or at least allow those who have started care

to continue that care pending appeal.

      A.     The Supreme Court, This Court, And Other Circuits Hold That
             Discrimination Against Transgender Persons, Like The Treatment
             Ban, Is Sex Discrimination Subject To Heightened Scrutiny.

     By facially targeting transgender people, the Treatment Ban makes a sex-based

classification. PI Order, R.61, PageID#2303. The Supreme Court recently held that

“it is impossible to discriminate against a person for being … transgender without



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discriminating against that individual based on sex.” Bostock, 140 S. Ct. at 1741.

Nearly twenty years earlier, this Court similarly held that discrimination against a

person who “fails to act and/or identify with his or her” sex designated at birth—that

is, against a transgender person—is sex-based discrimination for purposes of the

Equal Protection Clause. Smith, 378 F.3d at 577. The Fourth, Seventh, Eighth, and

Ninth Circuits have reached the same conclusion. Brandt, 47 F.4th at 669; Grimm,

972 F.3d at 608; Karnoski, 926 F.3d at 1200–01; Whitaker, 858 F.3d at 1051–52.

All sex-based classifications are subject to heightened scrutiny. United States v.

Virginia, 518 U.S. 515, 555 (1996).

      The panel majority held that these precedents do not apply if a law bans care

“for minors of both sexes.” L.W., 2023 WL 4410576, at *11. The Supreme Court

rejected that logic in Bostock in unequivocal terms: “an employer who intentionally

fires an individual … transgender employee … violates the law even if the employer

is willing to subject all male and female … transgender employees to the same rule.”

Id. (emphasis added). “[A]n employer cannot escape liability by demonstrating that

it treats males and females comparably as groups.” Id.; see also J.E.B. v. Alabama

ex rel. T.B., 511 U.S. 127, 140–41 (1994) (holding peremptory challenges based on

a juror’s sex are unconstitutional, even though such challenges can be applied

equally to both sexes, because the Equal Protection Clause protects each person—




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not merely women as a group or men as a group—from disparate treatment based

on sex).

      The panel majority held Bostock inapplicable because the sex discrimination

claim in that case arose under Title VII, not the Equal Protection Clause. L.W., 2023

WL 4410576, at *13. However, as the Supreme Court and this Court have

consistently held, what constitutes sex discrimination under Title VII constitutes sex

discrimination under the Equal Protection Clause, and vice-versa. See, e.g., GE Co.

v. Gilbert, 429 U.S. 125 (1978) (relying on Geduldig v. Aiello, 417 U.S. 484 (1974),

an equal protection case, to resolve a sex discrimination claim under Title VII);

Boxill v. O’Grady, 935 F.3d 510, 520 (6th Cir. 2019) (“We review § 1983

discrimination claims brought under the Equal Protection Clause using the same test

applied under Title VII.”).1 The panel majority did not address these precedents.

     The panel majority also incorrectly assumed that the Treatment Ban and similar

laws prohibit medical care for transgender minors are comparable to the regulation

of pregnancy in Geduldig or abortion in Dobbs v. Jackson Women’s Health Org.,

142 S. Ct. 2228 (2022). See L.W., 2023 WL 4410576, at *6. But unlike the laws



1
 See also, e.g., Smith, 378 F.3d at 577 (finding that the facts supporting a transgender
plaintiff’s Title VII claim “easily constitute[d] a claim of sex discrimination
grounded in the Equal Protection Clause”); Kitchen v. Chippewa Valley Schs., 825
F.2d 1004, 1011 (6th Cir. 1987); Daniels v. Bd. of Educ., 805 F.2d 203, 207 (6th Cir.
1986); Grano v. Dep’t of Dev., 637 F.2d 1073, 1081-82 (6th Cir. 1980); Lautermilch
v. Findlay City Schs., 314 F.3d 271, 275 (6th Cir. 2003).

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challenged in those cases, the law here facially discriminates based on transgender

status and, therefore, based on sex. The Treatment Ban prohibits prescribing puberty

blockers and hormone therapy if—and only if—the care is provided “to alter the

appearance of, or to validate a minor’s perception of, the minor’s sex, if that

appearance or perception is inconsistent with the minor’s sex” at birth. Ky. Rev. Stat.

§ 311.372(2)(a)–(b). That is precisely what defines a person as transgender.

     As the law’s repeated use of the word “sex” illustrates, classifications on the

basis of transgender status “cannot be stated without referencing sex.” Grimm, 972

F.3d at 608; see Order, R.61, PageID#2303-04 (“[T]he minor’s sex at birth

determines whether or not the minor can receive certain types of medical care under

the law.” (citing Brandt, 47 F.4th at 669)); K.C. v. Individual Members of Med.

Licensing Bd., No. 23-595, 2023 WL 4054086, *8 (S.D. Ind. June 16, 2023)

(“[W]ithout sex-based classifications, it would be impossible for [Indiana’s ban] to

define whether a puberty-blocking or hormone treatment involved transition from

one’s sex (prohibited) or was in accordance with one’s sex (permitted).”); Doe v.

Ladapo, No. 23-114, 2023 WL 3833848, at *8 (N.D. Fla. June 6, 2023).

      The Treatment Ban facially classifies based on sex. This is not a situation like

Geduldig or Dobbs, in which a law classifies based on a physical or medical

condition that is merely correlated only with one sex. The law expressly targets

transgender minors—i.e., those whose perception of their sex differs from their sex



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at birth. As the Supreme Court held of a similarly facially sex-based policy in in City

of Los Angeles, Department of Water & Power v. Manhart, 435 U.S. 702, 715

(1978), “[o]n its face, this [law] discriminates on the basis of sex whereas the

General Electric plan [like the plan in Geduldig] discriminated on the basis of a

special physical disability.” In sum, there is a difference between a law that facially

relies on sex and one that relies on a physical or medical condition associated only

with one sex; while the latter may have a disparate impact based on sex, the former

necessarily constitutes disparate treatment based on sex.2

      Finally, it is for the en banc court alone to determine whether Smith’s holding

that discrimination based on transgender status is sex discrimination for the Equal

Protection Clause should be limited to constitutional claims involving employment

discrimination. No precedent supports the panel majority’s assumption that Smith is

inapposite because that case involved adults and employment rather than minors and

medical care. L.W., 2023 WL 4410576, at *13. A law either classifies based on sex,

or it does not. See, e.g., Craig v. Boren, 429 U.S. 190 (1976). If it does, it is subject

to heightened scrutiny.




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  Similarly, while the Supreme Court has held that physical differences between the
sexes may in rare circumstances justify a sex-based classification, they do not
insulate such a law from heightened scrutiny. See Nguyen v. I.N.S., 533 U.S. 53, 60–
61 (2001).

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      B.     Because Cameron Failed To Present Evidence To Justify The
             Treatment Ban Under Heightened Scrutiny, The Record Does Not
             Support The Panel’s Conclusion That Plaintiffs Are Unlikely To
             Succeed On The Merits.

      The district court correctly held that the Treatment Ban’s sex-based

classification is not likely to be found to be “substantially related to the achievement

of” the stated objectives of “protecting vulnerable” children or preserving “the

integrity and ethics of the medical profession.” PI Order, R.61, PageID#2306. With

regard to the protection of vulnerable children, the district court concluded that the

evidence supporting the safety and efficacy of the banned medicine outweighed the

evidence questioning it. Id. at PageID#2302. A panel of this Court “may not reverse”

a district court decision simply because it “would have weighed the evidence

differently.” Anderson v. City of Bessemer, 470 U.S. 564, 573–74 (1985); see U.S.

Student Ass’n Found. v. Land, 546 F.3d 373, 380 (6th Cir. 2008).

      The record evidence supporting the district court’s findings is substantial. The

doctors who describe puberty blockers and hormones as safe and effective are

experts in the treatment of gender dysphoria and have extensive experience treating

transgender adolescents. E.g., Shumer Decl., R.17-1, PageID#166-71 (describing

medicines), PageID#142-47 (describing qualifications); Janssen Decl., R.17-2,

PageID# 205-07 (medicines), PageID#197-201 (qualifications); Kingery Decl.

R.17-3, PageID#236-39 (medicines), PageID#232-36 (qualifications); Goodman



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Decl., R.52-2, PageID#1724-25 (medicines), PageID#1718-20 (qualifications);

Karasic    Decl.,   R.52-4,     PageID#1866-72      (medicines),     PageID#1856-59

(qualifications). Their views are supported by established standards of care and

clinical practice guidelines developed based on the same criteria and clinical

practices used to establish treatments for other medical conditions. See generally

Brief of Amici Curiae, R.19-2.

      In sum, the district court did not abuse its discretion in finding that Cameron

failed to present evidence sufficient to satisfy his burden to show that SB 150 is

substantially related to any of Kentucky’s stated interests. The panel’s re-weighing

of that evidence, and its failure to apply heightened scrutiny, conflicts with Supreme

Court and Circuit precedent.

II.   THE PANEL’S CONCLUSION THAT PLAINTIFFS ARE UNLIKELY
      TO SUCCEED ON THEIR DUE PROCESS CLAIMS ALSO
      CONFLICTS WITH PRECEDENT.

      The Supreme Court has held that parents’ fundamental rights under the Due

Process Clause include “the right, coupled with the high duty … to recognize

symptoms of illness and to seek and follow medical advice.” Parham, 442 U.S. at

602; accord Kanuszewski, 927 F.3d at 419. Notwithstanding that precedent, the

panel majority held that “[n]o Supreme Court case extends [parental rights] to a

general right to receive new medical or experimental drug treatments.” L.W., 2023

WL 4410576, at *4. The assumption that the banned treatments are “new” or


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“experimental” is incorrect and contradicts the district court’s factual findings (here

and in L.W.). See L.W. by & through Williams v. Skrmetti, No. 23-376, 2023 WL

4232308, at *21 (M.D. Tenn. June 28, 2023). It also contradicts the factual findings

made by every other court to hear evidence regarding this same issue, including two

federal district courts following full trials on the merits. E.g., Brandt v. Rutledge,

No. 21-450, 2023 WL 4073727, at *35 (E.D. Ark. June 20, 2023) (“The State failed

to provide sufficient evidence that the banned treatments are ineffective or

experimental.”); Ladapo, 2023 WL 3833848, at *5 (finding the banned medicines

“have been used for decades” and have well known “safety records”).

      The panel’s characterization of the treatments at issue as “experimental” also

conflicts with settled law in this Circuit on that point, which “look[s] to the standard

of care in the medical community to determine whether a given treatment was

generally accepted medical therapy.” Peruzzi v. Summa Med. Plan, 137 F.3d 431,

433 (6th Cir. 1998); cf. Klein v. Cent. States S.E. & S.W. Areas Health & Welfare

Plan, 346 F. App’x 1, 6 (6th Cir. 2009) (upholding denial of coverage for

experimental treatment based on plan exclusion for services that are “not medically

necessary or are not uniformly and professionally endorsed by the general medical

community as Standard Medical Care, Treatment, Services or Supplies”).

Substantial evidence demonstrated that the banned treatments are part of the

accepted standard of care for treatment for gender dysphoria in adolescents.



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      The panel majority’s reliance on Abigail Alliance for Better Access to

Developmental Drugs v. von Eschenbach, 495 F.3d 695 (D.C. Cir. 2007), is similarly

inapposite. See L.W., 2023 WL 4410576, at *5. Unlike in that case, Parent Plaintiffs

here do not seek experimental medications—they seek medicines that the “Food and

Drug Administration has approved,” Ladapo, 2023 WL 3833848, at *5, and that the

relevant standards of care authorize as an effective treatment for gender dysphoria,

see, e.g., Shumer Decl., R.17-1, PageID#166-71; Janssen Decl., R.17-2, PageID#

205-07; Kingery Decl. R.17-3, PageID#236-39; Goodman Decl., R.52-2,

PageID#1724-25; Karasic Decl., R.52-4, PageID#1866-72.

      A state’s efforts to regulate health and welfare may generally be entitled to “a

strong presumption of validity,” L.W., 2023 WL 4410576, at *8 (cleaned up), but

not when such efforts violate a constitutional right, see, e.g., Nat’l Inst. of Fam. &

Life Advocs. v. Becerra, 138 S. Ct. 2361, 2371 (2018). Parents have an established

fundamental right to make medical decisions for their children. The Treatment Ban

unduly burdens that right because it bans medical care that has been administered

for more than twenty years, is widely accepted as the standard of care, and is

supported by substantial research showing it to be safe and effective. The district

court’s factual findings on these issues are entitled to significant deference. The

panel’s conclusion that Parent Plaintiffs, in consultation with medical professionals,




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have no fundamental right to obtain these established treatments for their adolescent

children conflicts with precedent.

III.   THE PANEL’S ORDER PRESENTS QUESTIONS OF EXCEPTIONAL
       IMPORTANCE BECAUSE IT CONFLICTS WITH DECISIONS OF
       OTHER FEDERAL COURTS AND BECAUSE PLAINTIFFS WILL
       SUFFER IRREPARABLE HARM PENDING APPEAL IF SB 150 IS
       ALLOWED TO REMAIN IN EFFECT.

       A.    The Panel’s Order Conflicts With Decisions Of Other Circuits.

       As the panel majority readily acknowledged, its analysis directly conflicts

with the decisions of the Eighth Circuit and of multiple federal district courts, all of

which have held that a ban on established medical treatments for transgender

individuals constitutes sex-based discrimination. See L.W., 2023 WL 4410576, at *8

(citing Brandt, 47 F.4th at 670; K.C., 2023 WL 4054086; Ladapo, 2023 WL

3833848; Eknes-Tucker v. Marshall, 603 F. Supp. 3d 1131 (M.D. Ala. 2022)). As

the panel majority also acknowledged, its analysis similarly conflicts with decisions

from other circuits arising in non-healthcare contexts, which have also held that

disparate treatment of transgender individuals is sex discrimination. See id. (citing

Grimm, 972 F.3d at 608); see also, e.g., Karnoski, 926 F.3d at 1200–01; Whitaker,

858 F.3d at 1051–52. The panel’s published orders (in this case and L.W.) create a

conflict between this Court and many other federal courts on questions of

exceptional importance, warranting en banc review.




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      B.     Plaintiffs And Other Transgender Adolescents In Kentucky Are
             And Will Continue Suffering Irreparable Harm.

      The district court properly found that the Treatment Ban will cause

significant, irreparable harm to Plaintiffs, Order, R.61, PageID#2311, and such

findings merit significant deference. See Land, 546 F.3d at 380. The district court’s

findings were amply supported by the record, which shows that inability to access

the banned treatments will cause serious and likely severe psychological and

emotional harm to Minor Plaintiffs, including self-harm, suicidal ideation,

depression, and anxiety. JD1 Decl., R.17-4, PageID#280-282; JD2 Decl., R.17-5,

PageID#283-285; JD3 Decl., R.17-6, PageID#286-288; JD5 Decl., R.17-7,

PageID#289-91.

      Doctors who specialize in the treatment of transgender adolescents submitted

detailed declarations that confirm the medical legitimacy of Parent Plaintiffs’ fears.

Shumer Decl., R.17-1, PageID#171-72 (Treatment Ban could lead “to a staggering

increase in mental health problems including suicidality.”); Janssen Decl., R.17-2,

PageID#215 (Treatment Ban will make transgender adolescents “suffer” and cause

their mental health to “deteriorate”); Kingery Decl., R.17-3, PageID#251-53

(Treatment Ban “will worsen … mental health outcomes”). Based on this evidence,

the district court correctly found that the Plaintiffs would be irreparably harmed.

Order, R.61, PageID#2311.



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      Against these severe, irreparable, and specific harms to real people, the only

countervailing harm to Kentucky is a constructive form of harm from delaying the

effective date of SB 150. See L.W., 2023 WL 4410576, at *14. Such harm does not

outweigh the concrete harms that actual children and their parents will suffer from

being denied the medical care they have relied on and need. In particular, because

the Treatment Ban does not otherwise permit Plaintiffs’ care to continue as

prescribed by their medical provider, the stay should be lifted at least to that extent.

Moreover, Defendants Thornbury and Denker, the Kentucky officials responsible

for enforcing the Treatment Ban, agree it would “behoove … licensees and their

patients for the Court to grant the injunction and maintain the status quo pending

final ruling on the merits of the suit.” Response to Emergency Motion for Stay, R.69,

PageID#2439.

      In sum, because Plaintiffs are currently facing severe and irreparable harm by

being barred from receiving recommended care, and because the officials charged

with enforcing the Treatment Ban agree that it should be preliminarily enjoined, the

panel’s order presents questions of exceptional importance warranting immediate

relief from the en banc Court.

                                   CONCLUSION

      The Court should grant rehearing en banc on an expedited basis, and the en

banc Court should lift the stay of the district court’s preliminary injunction at the


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earliest opportunity to prevent further irreparable harm to Plaintiffs and other

transgender adolescents in Kentucky, or at a minimum lifted to allow those who are

receiving such care to continue to receive care while this appeal is pending.



        Dated: August 3, 2023        Respectfully Submitted,

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                     CERTIFICATE OF COMPLIANCE

      The foregoing petition was computer-generated in 14-point Times New

Roman proportional font and contains 3,540 words, and thus complies with the

requirements of Federal Rule of Appellate Procedure 35(b)(2)(A).


                                          /s/ Stephanie Schuster




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     Exhibit A
                    Case: 23-5609
Doe 1 v. Thornbury, --- F.4th ---- (2023)
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                                                                 Procedural Posture(s): Motion to Lift Stay; Motion for
                    2023 WL 4861984                              Preliminary Injunction.
      Only the Westlaw citation is currently available.
                                                                 On Emergency Motion to Lift Stay of Preliminary Injunction.
       United States Court of Appeals, Sixth Circuit.
                                                                 United States District Court for the Western District of
                                                                 Kentucky at Louisville. No. 3:23-cv-00230—David J. Hale,
          Jane DOE 1, et al., Plaintiffs-Appellees,
                                                                 District Judge.
                              v.
       William C. THORNBURY, Jr., M.D., in his                   Attorneys and Law Firms
     official capacity as the President of the Kentucky
     Board of Medical Licensure, et al., Defendants,             ON EMERGENCY MOTION: Corey Shapiro, Heather
                                                                 Gatnarek, Crystal Fryman, ACLU OF KENTUCKY
          Commonwealth of Kentucky ex rel.
                                                                 FOUNDATION, Louisville, Kentucky, Stephanie Schuster,
       Daniel Cameron, Attorney General of the
                                                                 MORGAN, LEWIS & BOCKIUS LLP, Washington, D.C.,
    Commonwealth of Kentucky, Intervenor-Appellant.
                                                                 for Appellees. ON RESPONSE: Victor B. Maddox,
                        No. 23-5609                              Matthew F. Kuhn, Alexander Y. Magera, OFFICE OF
                              |                                  THE KENTUCKY ATTORNEY GENERAL, Frankfort,
               Decided and Filed: July 31, 2023                  Kentucky, for Appellant.

Synopsis                                                         Before: SUTTON, Chief Judge; WHITE and THAPAR,
                                                                 Circuit Judges.
Background: Transgender minors and their parents filed
suit against Commonwealth of Kentucky and various state
officials, asserting that Kentucky's law banning gender-
transition care to minors violated equal protection and due      The court issued an order. WHITE, J. (pp. –––– – ––––),
process. United States District Court for the Western District   delivered a separate dissenting opinion.
of Kentucky, David J. Hale, J., initially granted plaintiffs'
request for preliminary injunction against enforcement of law,                              ORDER
but then stayed injunction. Plaintiffs filed emergency motion
to lift stay.                                                    PER CURIAM.

                                                                  *1 The district court preliminarily enjoined Kentucky's ban
                                                                 on sex-transition care for minors but later stayed its injunction
Holdings: The Court of Appeals held that:                        in light of L.W. ex rel. Williams v. Skrmetti, ––– F.4th ––––,
                                                                 No. 23-5600, 2023 WL 4410576 (6th Cir. July 8, 2023).
holding in L.W. ex rel. Williams v. Skrmetti, 73 F.4th 408,      Plaintiffs ask us to lift the district court's stay.
that plaintiffs in that case were not entitled to injunctive
relief against enforcement of Tennessee ban against gender-      Our decision is governed by four factors: likelihood of
transition care for minors controlled emergency motion to lift   success on the merits, irreparable harm, the balance of harms,
stay of preliminary injunction, and                              and the public interest. Roberts v. Neace, 958 F.3d 409, 413
                                                                 (6th Cir. 2020). We recently balanced these factors in a case
certain Kentucky officials disagreement with law had no          involving Tennessee's ban on sex-transition care for minors
bearing on court's consideration of likelihood of success on     and held that they favored allowing Tennessee to enforce its
merits of plaintiffs' claims, as required to obtain injunctive   law. Skrmetti, ––– F.4th at ––––, 2023 WL 4410576, at *8.
relief.
                                                                 That holding controls here. Kentucky bans the same conduct
                                                                 as in Skrmetti. Ky. Rev. Stat. § 311.372(2); Tenn. Code Ann. §
Motion denied.
                                                                 68-33-103(a). Plaintiffs bring the same Equal Protection and
                                                                 Due Process claims that, in Skrmetti, we held were unlikely
White, Circuit Judge, filed dissenting opinion.
                                                                 to succeed. ––– F.4th at –––– – ––––, 2023 WL 4410576, at
                                                                 *3–8. Their likelihood of success—often “the determinative



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factor”—is the same here. See Obama for Am. v. Husted, 697
F.3d 423, 436 (6th Cir. 2012). Indeed, plaintiffs identify only
two differences between this case and Skrmetti. But neither                                     DISSENT
changes our balancing of the stay factors.
                                                                      HELENE N. WHITE, Circuit Judge, dissenting.
First, plaintiffs note that Tennessee's law allows minors
                                                                      For the reasons stated in my separate opinion in L.W. ex rel.
currently receiving treatment to continue care until March 31,
                                                                      Williams v. Skrmetti, I would lift the district court's stay of
2024. See Tenn. Code Ann. § 68-33-103(b)(1)(B). Kentucky's
                                                                      its preliminary injunction. See ––– F.4th ––––, ––––, No.
law likewise gives minors currently on treatment time to
                                                                      23-5600, 2023 WL 4410576, at *9 (6th Cir. July 8, 2023)
wean off, but it requires that weaning begin immediately. Ky.
                                                                      (White, J., concurring in part and dissenting in part). Further,
Rev. Stat. § 311.372(6). Plaintiffs argue that this changes the
                                                                      because I do not agree that Kentucky patients who were
balance of harms because they suffer immediately the harm
                                                                      receiving the now-banned treatments at the time the law was
that Tennessee's law allowed minors to postpone for months.
                                                                      enacted are in the same position as the Tennessee patients in
Looking only at the text of the laws, plaintiffs have a point.        Skrmetti, I would, at a minimum, lift the stay as to patients
                                                                      who were receiving treatment.
But the facts presented to us in Skrmetti were no different
from the facts here. There, the district court found that the
                                                                      Like the plaintiffs challenging Tennessee's law, Plaintiffs here
plaintiffs’ doctors would begin weaning immediately. L.W.
                                                                      have shown that they are likely to succeed on the merits
ex rel. Williams v. Skrmetti, ––– F.Supp.3d ––––, ––––, No.
                                                                      because Kentucky's law discriminates on the basis of sex. See
3:23-cv-376, 2023 WL 4232308, at *33 (M.D. Tenn. June
                                                                      id. Thus, the district court here properly issued a preliminary
28, 2023) (“[T]he record demonstrates undisputedly that
the continuing care exception will cause doctors to titrate           injunction, as did the district court in Skrmetti. Id. In this
down their minor patients’ medications ... beginning on July          case, however, there is greater reason to let the preliminary
1, 2023.”). We did not disturb that finding. So, just as in           injunction stand because, unlike the Tennessee statute in
Skrmetti, Kentucky's weaning period “lessens the harm” to             Skrmetti, Kentucky's law does not provide a continuing-care
                                                                      exception. As this court has explained, “[t]he probability of
minors “who wish to continue receiving treatment.” See
                                                                      success [on the merits] that must be demonstrated is inversely
Skrmetti, ––– F.4th at ––––, 2023 WL 4410576, at *8.
                                                                      proportional to the amount of irreparable injury plaintiffs
                                                                      will suffer.” Mich. Coalition of Radioactive Material Users,
Next, plaintiffs argue that because some Kentucky officials
disagree with the ban, Kentucky's interest in enforcing the ban       Inc. v. Griepentrog, 945 F.2d 150, 153 (6th Cir. 1991).
is weaker than Tennessee's. But the fact that some officials          Even following the majority's reasoning in Skrmetti, a
disagree with the ban does not change the analysis. As a              preliminary injunction is appropriate here for patients who
sovereign state, Kentucky has an interest in creating and             were undergoing the now-banned treatments, due to the
enforcing its own laws. See Cameron v. EMW Women's                    greater risk of irreparable harm.
Surgical Ctr., P.S.C., ––– U.S. ––––, 142 S. Ct. 1002, 1011,
                                                                      Unlike Tennessee's law, Kentucky's law provides no grace
212 L.Ed.2d 114 (2022); Alfred L. Snapp & Son, Inc. v. Puerto
                                                                      period during which patients receiving care may continue
Rico ex rel. Barez, 458 U.S. 592, 601, 102 S.Ct. 3260, 73
                                                                      treatment. Cf. Tenn. Code Ann. § 68-33-103(b)(1)(B)
L.Ed.2d 995 (1982). The people of Kentucky enacted the ban
                                                                      (permitting care to continue without alteration through March
through their legislature. That body—not the officials who
                                                                      31, 2024). Instead, healthcare providers must immediately
disagree with the ban—sets the Commonwealth's policies.
                                                                      cease treatment or “institute a period during which the minor's
See Cameron v. Beshear, 628 S.W.3d 61, 75 (Ky. 2021).
                                                                      use of the drug or hormone is systematically reduced.” Ky.
                                                                      Rev. Stat. § 311.372(6). If choosing the latter course, the
 *2 In short, plaintiffs’ requested stay presents the same
                                                                      provider must “document[ ] in the minor's medical record
issues decided in Skrmetti. We decline to lift the district court's
                                                                      that immediately terminating the minor's use of the drug or
stay.
                                                                      hormone would cause harm to the minor.” Id. Violations of
                                                                      the statute result in license revocation. Id. § 311.372(4).

                                                                      In Skrmetti, in determining that a preliminary injunction was
                                                                      inappropriate, the majority found the risk of irreparable harm


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                                                                    or risk losing their license if a stranger to the doctor-patient
diminished precisely because of Tennessee's grace period.
                                                                    relationship second-guesses the doctor's determination or
Id. at ––––, 2023 WL 4410576 at *8. Today, the majority
                                                                    documentation that interrupting treatment would harm the
sidesteps that analysis, reasoning that “the facts presented
                                                                    minor.
to us in Skrmetti were no different from the facts here”
because, in that case, “the district court found that the
                                                                     *3 For these reasons, I dissent from the majority's denial of
plaintiffs’ doctors would begin weaning immediately.” Maj.
                                                                    the Plaintiffs’ motion. I would lift the district court's stay of
Op. at ––––. But the Skrmetti majority specifically noted
                                                                    its preliminary injunction based on Plaintiffs’ likelihood of
that the Tennessee law “permits the challengers to continue
                                                                    success on the merits. And, to prevent the harm previously
their existing treatments until March 31, 2024” and “[t]hat
                                                                    recognized by the Skrmetti majority, I would lift the stay at
feature ... lessens the harm to those minors who wish to
                                                                    least with regard to those who were undergoing the now-
continue receiving treatment.” ––– F.4th at ––––, 2023 WL
                                                                    banned treatments when the law took effect.
4410576, at *8 (emphasis added). It seems obvious that there
is a tremendous difference between a statute like Tennessee's
that allows flexibility regarding treatment decisions and           All Citations
time to explore alternatives and one like Kentucky's that
forces doctors to either discontinue treatment immediately          --- F.4th ----, 2023 WL 4861984

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     Exhibit B
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L. W. by and through Williams v. Skrmetti, 73 F.4th 408 (2023)
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                                                                  plaintiffs were not likely to succeed on merits of their due
                       73 F.4th 408                               process claim;
       United States Court of Appeals, Sixth Circuit.
                                                                  plaintiffs were not likely to show that law lacked a rational
     L. W., BY AND THROUGH her parents and next                   basis;
    friends, Samantha WILLIAMS and Brian Williams;
     Samantha Williams; Brian Williams; John Doe, by              plaintiffs were not likely to succeed on merits of their equal
                                                                  protection claim;
     and through his parents and next friends, Jane Doe
       and James Doe; Jane Doe; James Doe; Rebecca
                                                                  irreparable harm to Tennessee favored granting emergency
      Roe; Susan N. Lacy, on behalf of herself and her
                                                                  stay; and
     patients; Ryan Roe, by and through his parent and
      next friend, Rebecca Roe, Plaintiffs-Appellees,             public interest factor heavily favored granting emergency
                              v.                                  stay.
       Jonathan Thomas SKRMETTI, in his official
        capacity as the Tennessee Attorney General
                                                                  Preliminary injunction stayed.
        and Reporter, et al., Defendants-Appellants,
      United States of America, Intervenor-Appellee.
                                                                  White, Circuit Judge, filed opinion concurring in part and
                         No. 23-5600                              dissenting in part.
                               |
                Decided and Filed: July 8, 2023                   Procedural Posture(s): On Appeal; Motion for Preliminary
                                                                  Injunction; Motion for Stay.
Synopsis
Background: Transgender minors, their parents, and doctor          *412 On Emergency Motion for Stay of Preliminary
sued several state officials in their official capacities under   Injunction Pending Appeal United States District Court for
§ 1983, alleging that Tennessee law prohibiting healthcare        the Middle District of Tennessee at Nashville. No. 3:23-
providers from performing gender-affirming surgeries and          cv-00376—Eli J. Richardson, District Judge.
administering hormones or puberty blockers to transgender
                                                                  Attorneys and Law Firms
minors violated the United States Constitution's guarantees of
due process and equal protection. United States District Court    ON EMERGENCY MOTION FOR STAY OF
for the Middle District of Tennessee, Eli J. Richardson, J.,      PRELIMINARY INJUNCTION PENDING APPEAL and
2023 WL 4232308, issued statewide preliminary injunction          REPLY: Clark L. Hildabrand, Steven J. Griffin, Brooke A.
against law's enforcement. After unsuccessfully seeking a         Huppenthal, OFFICE OF THE TENNESSEE ATTORNEY
stay in the district court, Tennessee appealed. In the interim,   GENERAL & REPORTER, Nashville, Tennessee, Adam K.
Tennessee moved for an emergency stay.                            Mortara, LAWFAIR LLC, Nashville, Tennessee, Cameron
                                                                  T. Norris, Tiffany H. Bates, CONSOVOY MCCARTHY
                                                                  PLLC, Arlington, Virginia, for Appellants. ON RESPONSE:
Holdings: The Court of Appeals, Sutton, Chief Judge, held         Joshua A. Block, Chase Strangio, AMERICAN CIVIL
that:                                                             LIBERTIES UNION FOUNDATION, New York, New
                                                                  York, Stella Yarbrough, Lucas Cameron-Vaughn, ACLU
injunction was overbroad and exceeded norms of judicial           FOUNDATION OF TENNESSEE, Nashville, Tennessee,
power;                                                            Sruti J. Swaminathan, LAMBDA LEGAL DEFENSE
                                                                  AND EDUCATION FUND, INC., New York, New
plaintiffs sought to extend constitutional guarantees to new      York, Tara Borelli, LAMBDA LEGAL DEFENSE AND
territory that was subject of debate, which supported an          EDUCATION FUND, INC., Decatur, Georgia, Christopher
emergency stay;                                                   J. Gessner, AKIN GUMP STRAUSS HAUER & FELD
                                                                  LLP, Washington, D.C., for Appellees. ON AMICUS
                                                                  BRIEF: Jonathan F. Mitchell, MITCHELL LAW PLLC,



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Austin, Texas, Edmund G. LaCour, Jr., A. Barrett Bowdre,
OFFICE OF THE ALABAMA ATTORNEY GENERAL,                              These findings convinced the legislature to ban certain
Montgomery, Alabama, for Amici Curiae.                               medical treatments for minors with gender dysphoria.
                                                                     A healthcare provider may not “administer or offer to
Before: SUTTON, Chief Judge; WHITE and THAPAR,                       administer” “a medical procedure” to a minor “for the
Circuit Judges.                                                      purpose of” either “[e]nabling a minor to identify with, or
                                                                     live as, a purported identity inconsistent with the minor's
                                                                     sex,” or “[t]reating purported discomfort or distress from a
SUTTON, C.J., delivered the opinion of the court in which            discordance between the minor's sex and asserted identity.”
THAPAR, J., joined. WHITE, J. (pp. –––– – ––––), delivered           Id. § 68-33-103(a)(1). Prohibited medical procedures include
a separate opinion concurring in part and dissenting in part.        “[s]urgically removing, modifying, altering, or entering into
                                                                     tissues, cavities, or organs” and “[p]rescribing, administering,
                           OPINION                                   or dispensing any puberty blocker or hormone.” Id. §
                                                                     68-33-102(5).
SUTTON, Chief Judge.
                                                                     The Act contains two relevant exceptions. It permits
Tennessee enacted a law that prohibits healthcare                    the use of these medical procedures to treat congenital
providers from performing gender-affirming surgeries and             defects, precocious puberty, disease, or physical injury. Id. §
administering hormones or puberty blockers to transgender            68-33-103(b)(1)(A). And it has a “continuing care” exception
minors. After determining that the law likely violated the           until March 31, 2024, which permits healthcare providers to
Equal Protection and Due Process Clauses, the district court         continue administering a long-term treatment, say hormone
facially enjoined the law's enforcement as to hormones and           therapy, that began before the Act's effective date. Id. §
puberty blockers and applied the injunction to all people in         68-33-103(b)(1)(B).
the State. Tennessee appealed and moved for an emergency
stay of the district court's order. Because Tennessee is likely to   The Act authorizes the Tennessee Attorney General to
succeed on its appeal of the preliminary injunction, we grant        enforce these prohibitions. Id. § 68-33-106(b). It permits the
the stay.                                                            relevant state regulatory authorities to impose “professional
                                                                     discipline” on healthcare providers that violate the Act. R.1
                                                                     ¶ 56; Tenn. Code Ann. § 68-33-107. And it creates a private
                                I.                                   right of action, enabling an injured minor or nonconsenting
                                                                     parent to sue a healthcare provider for violating the law. Tenn.
In March 2023, Tennessee enacted the Prohibition on Medical          Code Ann. § 68-33-105(a)(1)–(2).
Procedures Performed on Minors Related to Sexual Identity.
Tenn. Code Ann. § 68-33-101. It was scheduled to go                  Three transgender minors, their parents, and a doctor sued
into effect on July 1, 2023. Seeking to “protect[ ] minors           several state officials, claiming the Act violated the United
from physical and emotional harm,” id. § 68-33-101(m),               States Constitution's guarantees of due process and equal
the legislature identified several concerns about recent             protection. The plaintiffs challenged the Act's prohibitions on
treatments being offered by the medical profession for               hormone therapy and its surgery prohibitions, but they did
children with gender dysphoria. It was concerned that                not challenge its private right of action. They moved for a
some treatments for gender dysphoria “can lead to the                preliminary injunction to prevent those features of the Act
minor becoming irreversibly sterile, having increased risk           from going into effect on July 1, 2023.
of disease and illness, or suffering adverse and sometimes
fatal psychological consequences.” Id. § 68-33-101(b). It was        On June 28, the district court granted the motion in part. It
concerned that the long-term costs of these treatments remain        concluded that the challengers lacked standing to contest the
unknown and outweigh any near-term benefits because they             ban on surgeries but could challenge the ban on hormones
are “experimental in nature and not supported by high-quality,       and puberty blockers. As to due process, the court found that
long-term medical studies.” Id. And it noted that other helpful,     the Act infringes the parents’ “fundamental right to direct
less risky, and non-irreversible treatments remain available.        the medical care of their children.” R.167 at 14. As to equal
Id. § 68-33-101(c).                                                  protection, the court reasoned (1) that the Act improperly



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discriminates on the basis of sex and (2) that transgender          v. Jackson Women's Health Org., ––– U.S. ––––, 142 S.
persons constitute a quasi-suspect class and that the State         Ct. 2228, 2275, 213 L.Ed.2d 545 (2022). The district court
could not satisfy the necessary justifications that come with       questioned whether the test applied and declined to engage
this designation. The district court concluded that the Act was     with Tennessee's arguments that it could lawfully apply the
facially unconstitutional (with the exception of the surgery        Act in some settings. But it is not for lower-court judges to
and private enforcement provisions), and it issued a statewide      depart from Salerno, meaning that plaintiffs must show no set
injunction against its enforcement. Tennessee appealed. It          of valid applications of a law before we may declare it invalid
unsuccessfully sought a stay in the district court and moves        in all of its applications. Rodriguez de Quijas v. Shearson/Am.
for a stay here.                                                    Exp., Inc., 490 U.S. 477, 484, 109 S.Ct. 1917, 104 L.Ed.2d
                                                                    526 (1989) (noting that the Supreme Court alone exercises
                                                                    “the prerogative of overruling” its decisions). Consistent with
                                                                    the point, we have many cases adhering to the Salerno test.
                               II.
                                                                    See, e.g., Oklahoma v. United States, 62 F.4th 221, 231 (6th
A request for a stay pending appeal prompts four questions:         Cir. 2023); United States v. Fields, 53 F.4th 1027, 1038 (6th
“Is the applicant likely to succeed on the merits? Will the         Cir. 2022); Green Party of Tenn. v. Hargett, 700 F.3d 816, 826
applicant be irreparably injured absent a stay? Will a stay         (6th Cir. 2012); Warshak v. United States, 532 F.3d 521, 529
injure the other parties? Does the public interest favor a stay?”   (6th Cir. 2008) (en banc); Aronson v. City of Akron, 116 F.3d
Roberts v. Neace, 958 F.3d 409, 413 (6th Cir. 2020). As is          804, 809 (6th Cir. 1997).
often the case in a constitutional challenge, the likelihood-
of-success inquiry is the first among equals. Id. at 416.           Turn to the nature of the injunction. District courts “should not
In this instance, it is largely dispositive. While we assess        issue relief that extends further than necessary to remedy the
“the district court's ultimate decision whether to grant a          plaintiff's injury.” Commonwealth v. Biden, 57 F.4th 545, 556
preliminary injunction for abuse of discretion,” we assess “its     (6th Cir. 2023). The court's injunction prohibits Tennessee
legal determination, including the likelihood of success on the     from enforcing the law against the nine challengers in this
merits, with fresh eyes.” Arizona v. Biden, 40 F.4th 375, 381       case and against the other seven million residents of the
(2022) (quotation omitted).                                         Volunteer State. But absent a properly certified class action,
                                                                    why would nine residents represent seven million? Does the
There are two merits-related problems with the district court's     nature of the federal judicial power or for that matter Article
order. One relates to its scope. The other relates to its           III permit such sweeping relief? A “rising chorus” suggests
assessment of plaintiffs’ chances in challenging the Act on         not. Doster v. Kendall, 54 F.4th 398, 439 (6th Cir. 2022); see,
due process and equal protection grounds.                           e.g., Trump v. Hawaii, ––– U.S. ––––, 138 S. Ct. 2392, 2424–
                                                                    29, 201 L.Ed.2d 775 (2018) (Thomas, J., concurring); Dep't
                                                                    of Homeland Sec. v. New York, ––– U.S. ––––, 140 S. Ct. 599,
                                                                    599–601, 206 L.Ed.2d 115 (2020) (Gorsuch, J., concurring);
                               A.
                                                                    see also Samuel Bray, Multiple Chancellors: Reforming the
Scope. The district court rested its preliminary injunction on      National Injunction, 131 Harv. L. Rev. 417, 457–82 (2017).
a facial invalidation of the Act, as opposed to an as-applied
invalidation of the Act, and it assumed authority to issue a        Article III confines the “judicial power” to “Cases” and
statewide injunction. We doubt each premise.                        “Controversies.” U.S. Const. art. III, § 2. Federal courts
                                                                    may not issue advisory opinions or address statutes “in the
The challengers claim that Tennessee's law facially violates        abstract.” California v. Texas, ––– U.S. ––––, 141 S. Ct. 2104,
the Constitution. But litigants raising “a facial challenge to a    2115, 210 L.Ed.2d 230 (2021) (quotation omitted). They
statute normally ‘must establish that no set of circumstances       instead must operate in a party-specific and injury-focused
exists under which the [statute] would be valid.’ ” United          manner. Id.; Gill v. Whitford, ––– U.S. ––––, 138 S. Ct. 1916,
States v. Hansen, ––– U.S. ––––, ––– S.Ct. ––––, ––––,              1934, 201 L.Ed.2d 313 (2018). A court order that goes beyond
––– L.Ed.2d ––––, 2023 WL 4138994, at *5 (U.S. June 23,             the injuries of a particular plaintiff to enjoin government
2023) (quoting United States v. Salerno, 481 U.S. 739, 745,         action against nonparties exceeds the norms of judicial power.
107 S.Ct. 2095, 95 L.Ed.2d 697 (1987)). That's a “strict
standard” that we have no authority to “dilute[ ].” Dobbs


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Even if courts may in some instances wield such power,             provided to out-of-state minors in California), Colo. Rev.
the district court likely abused its discretion by deploying       Stat. § 12-30-121(1)(d) (designating gender-affirming care
it here. See, e.g., Biden, 57 F.4th at 557; see also United        as “legally protected health-care activity”), and Minn. Stat.
States v. Texas, ––– U.S. ––––, ––– S.Ct. ––––, ––––, –––          § 260.925 (refusing to enforce out-of-state laws that would
L.Ed.2d ––––, 2023 WL 4139000, at *17 (U.S. June 23, 2023)         limit a parent's custody rights for consenting to gender-
(Gorsuch, J., concurring) (considering the systemic harms          affirming care). See also Ala. Code § 16-1-52 (restricting
of overbroad injunctions as part of the abuse-of-discretion        sports participation by transgender students); Wyo. Stat. Ann.
review). In particular, it did not offer any meaningful reason     § 21-25-102 (similar); Mont. Code Ann. § 40-6-7X1(1)(f)
for granting such relief, creating considerable doubt about the    (requiring parental consent for changes in a child's pronouns).
survival of this overriding feature of the decision on appeal.     Leaving the preliminary injunction in place starts to grind
                                                                   these all-over-the-map gears to a halt. Glucksberg, 521 U.S.
                                                                   at 720, 117 S.Ct. 2258. Given the high stakes of these nascent
                                                                   policy deliberations—the long-term health of children facing
                              B.
                                                                   gender dysphoria—sound government usually benefits from
The challengers also are unlikely to prevail on their due          more rather than less debate, more rather than less input,
process and equal protection claims. Start with several            more rather than less consideration of fair-minded policy
considerations that apply to both claims. First, the challengers   approaches. To permit legislatures on one side of the debate to
do not argue that the original fixed meaning of either the due     have their say while silencing legislatures on the other side of
process or equal protection guarantee covers these claims.         the debate under the U.S. Constitution does not further these
That prompts the question whether the people of this country       goals.
ever agreed to remove debates of this sort—about the use
of new drug treatments on minors—from the conventional             That many members of the medical community support the
place for dealing with new norms, new drugs, and new               plaintiffs is surely relevant. But it is not dispositive for the
technologies: the democratic process. Life-tenured federal         same reason we would not defer to a consensus among
judges should be wary of removing a vexing and novel topic         economists about the proper incentives for interpreting
of medical debate from the ebbs and flows of democracy             the impairment-of-contracts or takings clauses of the U.S.
by construing a largely unamendable federal constitution to        Constitution. At all events, the medical and regulatory
occupy the field.                                                  authorities are not of one mind about using hormone therapy
                                                                   to treat gender dysphoria. Else, the FDA would by now have
Second, while the challengers do invoke constitutional             approved the use of these drugs for these purposes. That has
precedents of the Supreme Court and our Court in bringing          not happened, however, giving us considerable pause about
this lawsuit, not one of them resolves these claims. In each       constitutionalizing an answer they have not given or, best we
instance, they seek to extend the constitutional guarantees        can tell, even finally studied.
to new territory. There is nothing wrong with that, to
be sure. But it does suggest that the key premise of a             Due process. The challengers argue that the Act violates their
preliminary injunction—likelihood of success on the merits         due process right to control the medical care of their children.
—is missing. The burden of establishing an imperative for          “No State,” the Fourteenth Amendment says, shall “deprive
constitutionalizing new areas of American life is not—and          any person of life, liberty, or property, without due process of
should not be—a light one, particularly when “the States are       law.” The provision over time has come to secure more than
currently engaged in serious, thoughtful” debates about the        just procedural rights. It also includes substantive protections
issue. Washington v. Glucksberg, 521 U.S. 702, 719, 117 S.Ct.      “against government interference with certain fundamental
2258, 138 L.Ed.2d 772 (1997).                                      rights and liberty interests.” Glucksberg, 521 U.S. at 720,
                                                                   117 S.Ct. 2258. Courts identify such rights by looking for
Third, the States are indeed engaged on these issues, as           norms that are “fundamental” or are “deeply rooted in this
the recent proliferation of legislative activity across the        Nation's history and tradition.” Id. at 720–21, 117 S.Ct. 2258
country shows. Compare Ga. Code Ann. § 31-7-35 (banning            (quotation omitted); Timbs v. Indiana, ––– U.S. ––––, 139
gender-affirming treatments for minors) and Idaho Code §           S. Ct. 682, 689, 203 L.Ed.2d 11 (2019) (same). Experience
18-1506C (similar), with Cal. Penal Code § 819 (prohibiting        has shown that substantive due process is “a treacherous
cooperation with other states as to gender-affirming care          field.” Moore v. City of E. Cleveland, 431 U.S. 494, 502, 97



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S.Ct. 1932, 52 L.Ed.2d 531 (1977). Increasingly appreciative       Cincinnati Region v. Taft, 444 F.3d 502, 505 (6th Cir. 2006).
of that danger, the federal courts have become ever more           As a result, federal courts must be vigilant not to “substitute”
“reluctant to expand the concept of substantive due process”       their views for those of legislatures, Dobbs, 142 S. Ct. at
to new areas. Collins v. City of Harker Heights, 503 U.S. 115,     2284, a caution that is particularly apt when construing
125, 112 S.Ct. 1061, 117 L.Ed.2d 261 (1992).                       unenumerated guarantees, see Collins, 503 U.S. at 125, 112
                                                                   S.Ct. 1061.
Parents, it is true, have a substantive due process right “to
make decisions concerning the care, custody, and control of        Judicial deference is especially appropriate where “medical
their children.” Troxel v. Granville, 530 U.S. 57, 66, 120         and scientific uncertainty” exists. Gonzales v. Carhart, 550
S.Ct. 2054, 147 L.Ed.2d 49 (2000). But the Supreme Court           U.S. 124, 163, 127 S.Ct. 1610, 167 L.Ed.2d 480 (2007); see
cases recognizing this right confine it to narrow fields, such     also Marshall v. United States, 414 U.S. 417, 427, 94 S.Ct.
as education, Meyer v. Nebraska, 262 U.S. 390, 43 S.Ct.            700, 38 L.Ed.2d 618 (1974); Collins v. Texas, 223 U.S. 288,
625, 67 L.Ed. 1042 (1923), and visitation rights, Troxel,          297–98, 32 S.Ct. 286, 56 L.Ed. 439 (1912). In this respect,
530 U.S. at 57, 120 S.Ct. 2054. No Supreme Court case              consider the work of the Food and Drug Administration.
extends it to a general right to receive new medical or            Under a highly reticulated process that requires considerable
experimental drug treatments. In view of the high stakes           long-range testing, the FDA determines when new drugs
of constitutionalizing areas of public policy, any such right      are safe for public use, including use by minors, and when
must be defined with care. Glucksberg, 521 U.S. at 721,            new drugs are safe for certain purposes but not others. In
117 S.Ct. 2258 (requiring “a ‘careful description’ of the          making these decisions and in occasionally frustrating those
asserted fundamental liberty interest” (quotation omitted)).       who would like to have access to new drugs sooner, the
The challengers have not shown that a right to new medical         Constitution rarely has a say over the FDA's work. There is
treatments is “deeply rooted in our history and traditions” and    no constitutional right to use a new drug that the FDA has
thus beyond the democratic process to regulate. Id. at 727,        determined is unsafe or ineffective. Abigail All. for Better
117 S.Ct. 2258.                                                    Access to Developmental Drugs v. von Eschenbach, 495 F.3d
                                                                   695, 703 (D.C. Cir. 2007). And that is true even if the FDA
Constitutionalizing new parental rights in the context of new      bars access to an experimental drug that a doctor believes
medical treatments is no mean task. On the one side of             might save a terminally ill patient's life. Invoking our nation's
the ledger, parents generally can be expected to know what         long history of regulating drugs and medical treatments, the
is best for their children. On the other side of the ledger,       D.C. Circuit correctly held that the Constitution does not take
state governments have an abiding interest in “preserving the      over this field. Id. at 711; see also id. at 710 & n.18 (collecting
welfare of children,” Kanuszewski v. Mich. Dep't of Health &       similar cases).
Hum. Servs., 927 F.3d 396, 419 (6th Cir. 2019); Dobbs, 142 S.
Ct. at 2284, and “in protecting the integrity and ethics of the    Today's case has many parallels to that one. Gender-affirming
medical profession,” Glucksberg, 521 U.S. at 731, 117 S.Ct.        procedures often employ FDA-approved drugs for non-
2258. These interests give States broad power, even broad          approved, “off label” uses. Tennessee decided that such
power to “limit[ ] parental freedom,” Prince v. Massachusetts,     off-label use in this area presents unacceptable dangers.
321 U.S. 158, 167, 64 S.Ct. 438, 88 L.Ed. 645 (1944); see          Tenn. Code Ann. § 68-33-101(b), (e), (g). Many medical
Parham v. J. R., 442 U.S. 584, 606, 99 S.Ct. 2493, 61 L.Ed.2d      professionals and many medical organizations may disagree.
101 (1979), particularly in an area of new medical treatment.      But the Constitution does not require Tennessee to view these
We doubt, for example, that there are many drug-regulatory         treatments the same way as the majority of experts or to allow
agencies in the world that, without satisfactory long-term         drugs for all uses simply because the FDA has approved them
testing, would delegate to parents and a doctor exclusive          for some. Cf. Taft, 444 F.3d at 505 (explaining off-label use is
authority to decide whether to permit a potentially irreversible   legal “[a]bsent state regulation”); Gonzales v. Raich, 545 U.S.
new drug treatment.                                                1, 27–28, 125 S.Ct. 2195, 162 L.Ed.2d 1 (2005) (explaining
                                                                   that Congress may prohibit marijuana use even when doctors
More generally, state legislatures play a critical role in         approve its use for medical purposes). It is well within a
regulating health and welfare, and their efforts are usually       State's police power to ban off-label uses of certain drugs.
“entitled to a ‘strong presumption of validity.’ ” Dobbs,          At the same time, it is difficult to maintain that the medical
142 S. Ct. at 2284 (quotation omitted); Planned Parenthood         community is of one mind about the use of hormone therapy



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for gender dysphoria when the FDA is not prepared to put its          ordinarily valid if they are rationally related to and further
credibility and careful testing protocols behind the use.             a legitimate state interest. San Antonio Indep. Sch. Dist. v.
                                                                      Rodriguez, 411 U.S. 1, 55, 93 S.Ct. 1278, 36 L.Ed.2d 16
Kanuszewski v. Michigan Department of Health and Human                (1973). More exacting scrutiny applies when a law implicates
Services does not alter this conclusion. 927 F.3d 396. A              protected classes. See Reed v. Reed, 404 U.S. 71, 76, 92 S.Ct.
Michigan health program collected blood samples from                  251, 30 L.Ed.2d 225 (1971); United States v. Virginia, 518
newborns and stored the samples for future use. Id. at 403–           U.S. 515, 533, 116 S.Ct. 2264, 135 L.Ed.2d 735 (1996).
04. This compulsory storage program, we held, violated
nonconsenting parents’ rights “to make decisions concerning           It's highly unlikely, as an initial matter, that the plaintiffs could
the medical care of their children.” Id. at 418. This case            show that the Act lacks a rational basis. The State plainly
differs from that one in at least two material ways. Unlike the       has authority, in truth a responsibility, to look after the health
Michigan program, the Tennessee Act rests on the legislative          and safety of its children. In this area of unfolding medical
judgment that it will protect “the health of the child.” Id. at       and policy debate, a State has more rather than fewer options.
421; see Tenn. Code Ann. § 68-33-101(a), (b); Parham, 442             Tennessee could rationally take the side of caution before
U.S. at 603, 99 S.Ct. 2493 (noting that States retain authority,      permitting irreversible medical treatments of its children.
notwithstanding parental rights, to protect children's health).
And the Michigan program compelled medical care, while                The challengers pin their main claims for likelihood of
the Tennessee Act law prohibits certain medical care.                 success on the assumption that heightened scrutiny applies.
Although individuals sometimes have a constitutional right            They first argue that the Tennessee Act discriminates on the
to refuse treatment, the Supreme Court has not handled                basis of sex and thus requires the State to satisfy intermediate
affirmative requests for treatment in the same way. See               scrutiny. We are skeptical.
Glucksberg, 521 U.S. at 725–26, 117 S.Ct. 2258. Most
circuits have drawn the same line, “reject[ing] arguments             The Act bans gender-affirming care for minors of both
that the Constitution provides an affirmative right of access         sexes. The ban thus applies to all minors, regardless of
to particular medical treatments reasonably prohibited by             their biological birth with male or female sex organs. That
the Government.” Eschenbach, 495 F.3d at 710 & n.18                   prohibition does not prefer one sex to the detriment of the
(collecting cases).                                                   other. See Reed, 404 U.S. at 76, 92 S.Ct. 251. The Act
                                                                      mentions the word “sex,” true. But how could it not? That is
Glucksberg illuminates the point. 521 U.S. 702, 117 S.Ct.             the point of the existing hormone treatments—to help a minor
2258. Harold Glucksberg claimed that Washington State's               transition from one gender to another. That also explains
ban on physician-assisted suicide violated his patients’ due          why it bans procedures that administer cross-sex hormones
process rights. Id. at 708, 117 S.Ct. 2258. The Court held            but not those that administer naturally occurring hormones.
that the Constitution did not bestow an affirmative right             Tenn. Code Ann. § 68-33-103(b)(1)(A). A cisgender girl
to physician assistance in committing suicide. Id. at 725–            cannot transition through use of estrogen; only testosterone
26, 117 S.Ct. 2258. The State could prohibit individuals              will do that. A cisgender boy cannot transition through use of
from receiving care they wanted and their physicians wished           testosterone; only estrogen will do that. The reality that the
to provide, all despite the “personal and profound” liberty           drugs’ effects correspond to sex in these understandable ways
interests at stake. Id. at 725, 117 S.Ct. 2258. As in that case, so   and that Tennessee regulates them does not require skeptical
in this one, indeed more so in this one. There's little reason to     scrutiny. Dobbs, 142 S. Ct. at 2245–46; see Geduldig v.
think that a parent's right to make decisions for a child sweeps      Aiello, 417 U.S. 484, 496 n.20, 94 S.Ct. 2485, 41 L.Ed.2d
more broadly than an adult's right to make decisions for              256 (1974); see also Reed, 404 U.S. at 76, 92 S.Ct. 251.
herself. Cf. Whalen v. Roe, 429 U.S. 589, 604, 97 S.Ct. 869,          “The regulation of a medical procedure that only one sex can
51 L.Ed.2d 64 (1977); Prince, 321 U.S. at 166, 64 S.Ct. 438.          undergo does not trigger heightened constitutional scrutiny
All told, the plaintiffs’ efforts to expand our substantive due       unless the regulation is a ‘mere pretex[t] designed to effect an
process precedents to this new area are unlikely to succeed.          invidious discrimination against the members of one sex or
                                                                      the other.’ ” Dobbs, 142 S. Ct. at 2245–46 (quoting Geduldig,
Equal protection. “No state,” the Fourteenth Amendment                417 U.S. at 496 n.20, 94 S.Ct. 2485). No such pretext has
says, “shall ... deny to any person within its jurisdiction the       been shown here. If a law restricting a medical procedure that
equal protection of the laws.” Statutory classifications are          applies only to women does not trigger heightened scrutiny,



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as in Dobbs, a law equally applicable to all minors, no matter     options provided by fifty governors and fifty state courts, we
their sex at birth, does not require such scrutiny either.         would look to one judiciary to sort it all out. Glucksberg, 521
                                                                   U.S. at 720, 117 S.Ct. 2258. That is not how a constitutional
The plaintiffs separately claim that the Act amounts to            democracy is supposed to work—or at least works best
transgender-based discrimination, violating the rights of a        —when confronting evolving social norms and innovative
quasi-suspect class. But neither the Supreme Court nor             medical options.
this court has recognized transgender status as a quasi-
suspect class. Until that changes, rational basis review applies   Bostock v. Clayton County does not change the analysis. –––
to transgender-based classifications. In the context of a          U.S. ––––, 140 S. Ct. 1731, 207 L.Ed.2d 218 (2020). Title
preliminary injunction and the need to establish a likelihood      VII's prohibition on employment discrimination “because
of success on the merits, that should be nearly dispositive        of ... sex” encompasses discrimination against persons who
given the requirement of showing a “clear” right to relief.        are gay or transgender, the Court concluded. Id. at 1743; 42
Mazurek v. Armstrong, 520 U.S. 968, 972, 117 S.Ct. 1865, 138       U.S.C. § 2000e-2(a)(1). But that reasoning applies only to
L.Ed.2d 162 (1997) (emphasis omitted); see Winter v. NRDC,         Title VII, as Bostock itself and our subsequent cases make
555 U.S. 7, 22, 129 S.Ct. 365, 172 L.Ed.2d 249 (2008); Whole       clear. Bostock, 140 S. Ct. at 1753; Pelcha v. MW Bancorp,
Woman's Health v. Jackson, ––– U.S. ––––, 141 S. Ct. 2494,         Inc., 988 F.3d 318, 324 (6th Cir. 2021) (refusing to apply
2495, 210 L.Ed.2d 1014 (2021).                                     Bostock to the Age Discrimination in Employment Act);
                                                                   Meriwether v. Hartop, 992 F.3d 492, 510 n.4 (6th Cir. 2021)
The bar for recognizing a new quasi-suspect class, moreover,       (reasoning that Title VII analysis does not apply to Title IX);
is a high one. The Supreme Court has recognized just two           see also Students for Fair Admissions v. Harvard Coll., –––
such classes, City of Cleburne v. Cleburne Living Ctr., 473        U.S. ––––, ––– S.Ct. ––––, ––––, ––– L.Ed.2d ––––, 2023
U.S. 432, 441, 105 S.Ct. 3249, 87 L.Ed.2d 313 (1985) (gender       WL 4239254, at *59–60 (U.S. June 29, 2023) (Gorsuch, J.,
and illegitimacy), and none in recent years. The Court “has        concurring) (explaining that Title VI differs from the Equal
not recognized any new constitutionally protected classes in       Protection Clause).
over four decades, and instead has repeatedly declined to do
so.” Ondo v. City of Cleveland, 795 F.3d 597, 609 (6th Cir.        Smith v. City of Salem does not move the needle either.
2015); Cleburne, 473 U.S. at 442, 105 S.Ct. 3249 (holding          378 F.3d 566 (6th Cir. 2004). It was an employment case,
that mental disability is not a quasi-suspect class); Mass.        it involved an adult, and it concerned “sex stereotyping,”
Bd. of Ret. v. Murgia, 427 U.S. 307, 313, 96 S.Ct. 2562, 49        not whether someone's body is male or female. Id. at 574–
L.Ed.2d 520 (1976) (per curiam) (holding that age is not a         75. In that setting, it held that a transgender employee
quasi-suspect class); see Obergefell v. Hodges, 576 U.S. 644,      fired for dressing as a woman established a cognizable
135 S.Ct. 2584, 192 L.Ed.2d 609 (2015) (declining to address       equal protection claim. See id. at 573, 577 (resting the
whether gay individuals qualify as a suspect class).               holding on “[t]he facts Smith has alleged”). It did not
                                                                   hold that every claim of transgender discrimination requires
That hesitancy makes sense here. Gender identity and               heightened scrutiny, least of all in the fraught context of
gender dysphoria pose vexing line-drawing dilemmas for             whether a State may limit irreversible medical treatments to
legislatures. Plenty of challenges spring to mind. Surgical        minors facing gender dysphoria. And Dobbs prevents us from
changes versus hormone treatment. Drugs versus counseling.         extending Smith that far, as it held that medical treatments
One drug versus another. One age cutoff for minors                 that affect only one sex receive rational-basis review. Dobbs,
versus another. Still more complex, what about sports,             142 S. Ct. at 2245–46; see Geduldig, 417 U.S. at 496 n.20,
access to bathrooms, definitions of disability? And will we        94 S.Ct. 2485.
constitutionalize the FDA approval rules in the process? Even
when accompanied by judicial tiers of scrutiny, the U.S.           We recognize that other courts and judges have taken
Constitution does not offer a principled way to judge each of      different approaches to these issues. See, e.g., Grimm
these lines—and still others to boot. All that would happen        v. Gloucester Cnty. Sch. Bd., 972 F.3d 586, 608 (4th
is that we would remove these trying policy choices from           Cir. 2020) (differential treatment of transgender person
fifty state legislatures to one Supreme Court. Instead of the      triggers intermediate scrutiny); id. at 627–28 (Niemeyer, J.,
vigorous, sometimes frustrating, “arena of public debate and       dissenting); Brandt ex rel. Brandt v. Rutledge, 47 F.4th 661,
legislative action” across the country and instead of other        670 (8th Cir. 2022) (ban on gender-transition procedures



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constituted sex-based discrimination); Brandt ex rel. Brandt         every choice is for judges to make. In this instance, elected
v. Rutledge, 2022 WL 16957734, at *1 & n.1 (8th Cir. Nov. 16,        representatives made these precise cost-benefit decisions and
2022) (Stras, J., dissental); Adams ex rel. Kasper v. Sch. Bd.       did not trigger any reasons for skeptical review in doing so.
of St. Johns Cnty., 57 F.4th 791, 801, 803 n.5 (11th Cir. 2022)      As for the public interest, Tennessee's interests in applying
(sex-based bathroom policy did not violate equal protection);        the law to its residents and in being permitted to protect its
id. at 823 (Wilson, J., dissenting).                                 children from health risks weigh heavily in favor of the State
                                                                     at this juncture.
We recognize, too, that several district courts have addressed
similar laws in other States and assessed those laws in much                                       ***
the same way as the district court did in this case. See Brandt v.
Rutledge, ––– F.Supp.3d ––––, 2023 WL 4073727 (E.D. Ark.             These initial views, we must acknowledge, are just that:
June 20, 2023); K.C. v. Individual Members of Med. Licensing         initial. We may be wrong. It may be that the one week we
Bd. of Ind., --- F.Supp.3d ––––, 2023 WL 4054086 (S.D.               have had to resolve this motion does not suffice to see our
Ind. June 16, 2023); Doe v. Ladapo, ––– F.Supp.3d ––––,              own mistakes. In an effort to mitigate any potential harm
2023 WL 3833848 (N.D. Fla. June 6, 2023); Eknes-Tucker               from that possibility, we will expedite the appeal of the
v. Marshall, 603 F. Supp. 3d 1131 (M.D. Ala. 2022). And              preliminary injunction, with the goal of resolving it no later
our thoughtful colleague has reached a similar conclusion. We        than September 30, 2023. In the interim, the district court's
appreciate their perspectives, and they give us pause. But they      preliminary injunction is stayed.
do not eliminate our doubts about the ultimate strength of the
challengers’ claims for the reasons just given.

All told, the challengers lack a “clear showing” that they will      CONCURRING IN PART AND DISSENTING IN PART
succeed on the merits, Mazurek, 520 U.S. at 972, 117 S.Ct.
1865 (emphasis omitted), and that is particularly so in view of      WHITE, Circuit Judge, concurring in part and dissenting in
the burdensome nature of a facial attack and the fraught task        part.
of justifying statewide relief.
                                                                     Because I believe that Tennessee's law is likely
                                                                     unconstitutional based on Plaintiffs’ theory of sex
                                                                     discrimination, I would not stay the district court's injunction,
                               III.                                  although I would narrow its scope. I do not find it necessary to
                                                                     address Plaintiffs’ alternative theories of constitutional injury
The other stay factors largely favor the State as well. If the
                                                                     at this time.
injunction remains in place during the appeal, Tennessee will
suffer irreparable harm from its inability to enforce the will
                                                                     Tennessee's law likely discriminates against Plaintiffs on the
of its legislature, to further the public-health considerations
                                                                     basis of sex in violation of the Equal Protection Clause,
undergirding the law, and to avoid irreversible health risks to
                                                                     thus triggering intermediate scrutiny. Although the state
its children. As for harm to others, the Act's continuing care
                                                                     argues that the act “appl[ies] equally to males and females,”
exception permits the challengers to continue their existing
                                                                     Appellant's Br. 8-9, the law discriminates based on sex
treatments until March 31, 2024. That feature of the law
                                                                     because “medical procedures that are permitted for a minor
lessens the harm to those minors who wish to continue
                                                                     of one sex are prohibited for a minor of another sex,” Brandt
receiving treatment. But we appreciate that it does not answer
                                                                     v. Rutledge, 47 F.4th 661, 669 (8th Cir. 2022). To illustrate,
the concerns of those who might wish to continue treatment
                                                                     under the law, a person identified male at birth could receive
after that date or to those minors who might seek treatment
                                                                     testosterone therapy to conform to a male identity, but a
for the first time in the future. That creates an irreversible
problem of its own, one that lies at the crux of the case.           person identified female at birth could not. 1 See Tenn. Code
Both sides have the same fear, just in opposite directions           Ann. § 68-33-103(a)(1). Indeed, until today, every federal
—one saying the procedures create health risks that cannot           court addressing similar laws reached the same conclusion as
be undone, the other saying the absence of such procedures           Brandt. 2
creates risks that cannot be undone. What makes it bearable
to choose between the two sides is the realization that not



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L. W. by and through Williams v. Skrmetti, 73 F.4th 408 (2023)
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In the Title VII context, the Supreme Court has made clear that           government's objectives,” id. (quoting Miss. Univ. for Women
sex discrimination occurs when an “employer intentionally                 v. Hogan, 458 U.S. 718, 724, 102 S.Ct. 3331, 73 L.Ed.2d 1090
penalizes a person identified as male at birth for traits or              (1982)). Applying this standard, I fail to see how the state can
actions that it tolerates in an employee identified as female at          justify denying access to hormone therapies for treatment of
birth.” Bostock v. Clayton County, ––– U.S. ––––, 140 S. Ct.              minor Plaintiffs’ gender dysphoria while permitting access to
1731, 1741, 207 L.Ed.2d 218 (2020). That principle is directly            others, especially in light of the district court's robust factual
                                                                          findings on the benefits of these treatments for transgender
on point here and highly persuasive. Cf. Smith v. City of
                                                                          youth.
Salem, 378 F.3d 566, 577 (6th Cir. 2004) (finding transgender
plaintiff raised Title VII claim based on sex-stereotyping and
                                                                          However, I agree that the district court abused its discretion in
concluding that the facts supporting the Title VII claim “easily
                                                                          granting a statewide preliminary injunction. As the majority
constitute[d] a claim of sex discrimination grounded in the
                                                                          observes, “District courts ‘should not issue relief that extends
Equal Protection Clause”); Boxill v. O'Grady, 935 F.3d 510,
                                                                          further than necessary to remedy the plaintiff's injury.’ ” Maj.
520 (6th Cir. 2019) (“We review § 1983 discrimination claims
                                                                          Op. at 415 (quoting Commonwealth v. Biden, 57 F.4th 545,
brought under the Equal Protection Clause using the same test
                                                                          556 (6th Cir. 2023)). I would uphold the stay as it applies to
applied under Title VII.”).
                                                                          Plaintiffs and also Vanderbilt University Medical Center.
“Like racial classifications, sex-based discrimination is
                                                                          Lastly, I reiterate the majority's caveat that today's decision is
presumptively invalid.” Vitolo v. Guzman, 999 F.3d 353,
                                                                          preliminary only.
364 (6th Cir. 2021). “Government policies that discriminate
based on sex cannot stand unless the government provides
                                                                          I CONCUR in part and DISSENT in part.
an ‘exceedingly persuasive justification,’ ” id. (quoting
United States v. Virginia, 518 U.S. 515, 531, 116 S.Ct.
2264, 135 L.Ed.2d 735 (1996)), which requires showing                     All Citations
that the “classification serves ‘important governmental
objectives,’ and ... is ‘substantially and directly related’ to the       73 F.4th 408




                                                              Footnotes


1       Defendants raise in their reply brief the argument that “[b]oth sexes use the same puberty blockers, so
        prohibiting them for gender dysphoria does not even consider sex.” Reply Br. 3. But this does not solve the
        problem. Under Tennessee's law, someone identified male at birth could take puberty blockers consistent
        with a treatment plan that contemplates development consistent with a male identity, but someone identified
        female at birth could not. See Tenn. Code Ann. § 68-33-103(a)(1).

2       See Brandt, 47 F.4th at 669; Doe 1 v. Thornbury, No. 3:23-CV-230-DJH, ––– F.Supp.3d ––––, ––––, 2023
        WL 4230481, at *3 (W.D. Ky. June 28, 2023); Brandt v. Rutledge, No. 4:21CV00450 JM, ––– F.Supp.3d ––––,
        ––––, 2023 WL 4073727, at *31 (E.D. Ark. June 20, 2023); K.C. v. Individual Members of Med. Licensing Bd.
        of Indiana, No. 123CV00595JPHKMB, ––– F.Supp.3d ––––, ––––, 2023 WL 4054086, at *7 (S.D. Ind. June
        16, 2023); Doe v. Ladapo, No. 4:23CV114-RH-MAF, ––– F.Supp.3d ––––, ––––, 2023 WL 3833848, at *8
        (N.D. Fla. June 6, 2023); see also Eknes-Tucker v. Marshall, 603 F. Supp. 3d 1131, 1146 (M.D. Ala. 2022).



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